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                                                                  UniformAResidential
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    There are 1                 comparable properties currently offered for sale in the subject neighborhood ranging in price from $ 2,995,000                                  to $ 2,995,000
    There are 9                 comparable sales in the subject neighborhood within the past twelve months ranging in sale price from $ 2,450,000                                 to $ 5,100,000
                FEATURE                        SUBJECT                             COMPARABLE SALE # 1                               COMPARABLE SALE # 2                             COMPARABLE SALE # 3
     Address        10 Tucson                                        2 Leatherwood Ct                                  7 Endicott                                         1 Running Brook Dr
                    Coto De Caza, CA 92679                           Coto De Caza, CA 92679                            Coto De Caza, CA 92679                             Coto De Caza, CA 92679
     Proximity to Subject                                            0.70 miles E                                      0.22 miles W                                       0.72 miles E
     Sale Price                       $                                                           $     2,700,000                                     $    2,575,000                                           $    2,925,000
     Sale Price/Gross Liv. Area       $                     sq.ft.   $         463.68 sq.ft.                           $          440.17    sq.ft.                        $           486.45 sq.ft.
    Data Source(s)                                                   CRMLS#OC22245784;DOM 258                          CRMLS#OC22237433;DOM 14                            CRMLS#OC23032830;DOM 29
    Verification Source(s)                                           Doc#120514/CoreLogic Public R                     Doc#414425/CoreLogic Public R                      Doc#126504/CoreLogic Public R
    VALUE ADJUSTMENTS                       DESCRIPTION                    DESCRIPTION            + (-) $ Adjustment           DESCRIPTION           + (-) $ Adjustment         DESCRIPTION                   + (-) $ Adjustment
    Sale or Financing                                                ArmLth                                            ArmLth                                             ArmLth
    Concessions                                                      Cash;7000                             -7,000      Conv;0                                             Conv;7700                                     -7,700
    Date of Sale/Time                                                s05/23;c05/23                                     s12/22;c11/22                        +209,000      s05/23;c04/23
    Location                          N;Gated;                       N;Res;                                      0     N;Gated;                                           N;Res;                                             0
    Leasehold/Fee Simple              Fee Simple                     Fee Simple                                        Fee Simple                                         Fee Simple
    Site                              15296 sf                       10668 sf                           +115,000       14627 sf                                     0     12700 sf                                   +65,000
    View                              N;Res;                         N;Res;                                            N;Res;                                             B;Hills;                                     -90,000
  S Design (Style)                    DT2;Mediterr                   DT2;Mediterr                                      DT2;Traditional                              0     DT2;Mediterr
  A
  L Quality of Construction           Q3                             Q3                                                Q3                                                 Q3
  E Actual Age                        21                             22                                          0     22                                           0     21
  S Condition                         C3                             C3                                                C3                                                 C3                                         -100,000
    Above Grade                       Total     Bdrms. Baths         Total    Bdrms. Baths                       0     Total     Bdrms. Baths                             Total      Bdrms. Baths                            0
  C
  O Room Count                         12        5         5.1       12        5        4.1              +16,000       12        5         5.1                            12         5         4.1                   +16,000
  M Gross Living Area                 5,950                sq.ft.    5,823               sq.ft.           +22,000      5,850               sq.ft.                   0     6,013                      sq.ft.                  0
  P Basement & Finished               0sf                            0sf                                               0sf                                                0sf
  A
    Rooms Below Grade
  R
  I Functional Utility                Average                        Average                                           Average                                            Average
  S Heating/Cooling                   Central/Central                Central/Central                                   Central/Central                                    Central/Central
  O
    Energy Efficient Items            Standard                       Standard                                          Solar                                 -25,000      Standard
  N
    Garage/Carport                    4ga3dw                         3gbi2dw                              +15,000      4gbi2dw                                      0     3gbi2dw                                     +15,000
  A Porch/Patio/Deck                  Cvrd/Bbq/Sprt                  Patio/Deck                          +30,000       Cvrd/Bbq/Fp                           +10,000      Cvrd/Bbq/Fp                                 +10,000
  P Pool / Spa                        Pool / Spas                    Pool / Spa                                  0     Pool / Spa                                   0     Pool / Spa                                         0
  P
    Upgrades                          Good                           Good                                              Good                                               Good
  R
  O
  A Net Adjustment (Total)                                                    +          -         $      191,000          +                -        $       194,000          +                  -            $        -91,700
  C Adjusted Sale Price                                              Net Adj.           7.1 %                     Net Adj.                 7.5 %                     Net Adj.                  3.1 %
  H                                                                                                $
    of Comparables                                                   Gross Adj.         7.6 %           2,891,000 Gross Adj.               9.5 % $         2,769,000 Gross Adj.               10.4 %          $     2,833,300

     I        did     did not research the sale or transfer history of the subject property and comparable sales. If not, explain




     My research          did       did not reveal any prior sales or transfers of the subject property for the three years prior to the effective date of this appraisal.
     Data source(s)      County Records and the Multiple Listing Service.
     My research          did       did not reveal any prior sales or transfers of the comparable sales for the year prior to the date of sale of the comparable sale.
     Data source(s)     County Records and the Multiple Listing Service.
     Report the results of the research and analysis of the prior sale or transfer history of the subject property and comparable sales (report additional prior sales on page 3).
                     ITEM                                    SUBJECT                              COMPARABLE SALE #1                        COMPARABLE SALE #2                            COMPARABLE SALE #3
     Date of Prior Sale/Transfer
     Price of Prior Sale/Transfer
     Data Source(s)                           Realist                                    Realist                                       Realist                                    Realist
     Effective Date of Data Source(s)         06/09/2023                                 06/09/2023                                    06/09/2023                                 06/09/2023
     Analysis of prior sale or transfer history of the subject property and comparable sales
         Per Realist.com, no transfer of the subject within 3 years. Prior recordings of Comparable 4 on 12/16/2022 and 08/18/2022 were private Grant Deeds with no consideration.




     Summary of Sales Comparison Approach
         Please see the additional comparables and comments.




     Indicated Value by Sales Comparison Approach $ 2,770,000
    Indicated Value by: Sales Comparison Approach $ 2,770,000                             Cost Approach (if developed) $                              Income Approach (if developed) $ 0
  R
  E Greatest weight was given to the sales comparison analysis reflecting typical buyer motivation in the market place. The cost approach was not completed as it was not deemed
  C necessary, applicable, or expected by typical participants in this market area to provide a credible estimation of value in support of the Sales Comparison Analysis. The income
  O approach is not applicable due to the lack of relevant data for analysis.
  N
  C This appraisal is made       "as is,"        subject to completion per plans and specifications on the basis of a hypothetical condition that the improvements have been
  I completed,         subject to the following repairs or alterations on the basis of a hypothetical condition that the repairs or alterations have been completed, or     subject to the
  L
    following required inspection based on the extraordinary assumption that the condition or deficiency does not require alteration or repair:
  I
  A The final estimate of market value is made in 'as-is' condition.
  T
  I
    Based on a complete visual inspection of the interior and exterior areas of the subject property, defined scope of work, statement of assumptions and limiting
  O
  N conditions, and appraiser’s certification, my (our) opinion of the market value, as defined, of the real property that is the subject of this report is
    $ 2,770,000                           as of 06/09/2023                              , which is the date of inspection and the effective date of this appraisal.


                                                                                                                                                                                  Exhibit A
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                                                                                                          AI Ready
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       This report form is designed to report an appraisal of a one-unit property or a one-unit property with an accessory unit; including a unit
       in a planned unit development (PUD). This report form is not designed to report an appraisal of a manufactured home or a unit in a
       condominium or cooperative project.

       This appraisal report is subject to the following scope of work, intended use, intended user, definition of market value, statement of
       assumptions and limiting conditions, and certifications. Modifications, additions, or deletions to the intended use, intended user,
       definition of market value, or assumptions and limiting conditions are not permitted. The appraiser may expand the scope of work to
       include any additional research or analysis necessary based on the complexity of this appraisal assignment. Modifications or deletions
       to the certifications are also not permitted. However, additional certifications that do not constitute material alterations to this appraisal
       report, such as those required by law or those related to the appraiser's continuing education or membership in an appraisal
       organization, are permitted.


       SCOPE OF WORK: The scope of work for this appraisal is defined by the complexity of this appraisal assignment and the reporting
       requirements of this appraisal report form, including the following definition of market value, statement of assumptions and limiting
       conditions, and certifications. The appraiser must, at a minimum: (1) perform a complete visual inspection of the interior and exterior
       areas of the subject property, (2) inspect the neighborhood, (3) inspect each of the comparable sales from at least the street, (4)
       research, verify, and analyze data from reliable public and/or private sources, and (5) report his or her analysis, opinions, and
       conclusions in this appraisal report.

       INTENDED USE: The intended use of this appraisal report is for the lender/client to evaluate the property that is the subject of this
       appraisal for a mortgage finance transaction.

       INTENDED USER: The intended user of this appraisal report is the lender/client.

       DEFINITION OF MARKET VALUE: The most probable price which a property should bring in a competitive and open market under all
       conditions requisite to a fair sale, the buyer and seller, each acting prudently, knowledgeably and assuming the price is not affected by
       undue stimulus. Implicit in this definition is the consummation of a sale as of a specified date and the passing of title from seller to buyer
       under conditions whereby: (1) buyer and seller are typically motivated; (2) both parties are well informed or well advised, and each
       acting in what he or she considers his or her own best interest; (3) a reasonable time is allowed for exposure in the open market; (4)
       payment is made in terms of cash in U. S. dollars or in terms of financial arrangements comparable thereto; and (5) the price
       represents the normal consideration for the property sold unaffected by special or creative financing or sales concessions* granted by
       anyone associated with the sale.

       *Adjustments to the comparables must be made for special or creative financing or sales concessions. No adjustments are necessary
       for those costs which are normally paid by sellers as a result of tradition or law in a market area; these costs are readily identifiable
       since the seller pays these costs in virtually all sales transactions. Special or creative financing adjustments can be made to the
       comparable property by comparisons to financing terms offered by a third party institutional lender that is not already involved in the
       property or transaction. Any adjustment should not be calculated on a mechanical dollar for dollar cost of the financing or concession
       but the dollar amount of any adjustment should approximate the market's reaction to the financing or concessions based on the
       appraiser's judgment.

       STATEMENT OF ASSUMPTIONS AND LIMITING CONDITIONS: The appraiser's certification in this report is subject to the following
       assumptions and limiting conditions:

       1. The appraiser will not be responsible for matters of a legal nature that affect either the property being appraised or the title to it,
       except for information that he or she became aware of during the research involved in performing this appraisal. The appraiser
       assumes that the title is good and marketable and will not render any opinions about the title.


       2. The appraiser has provided a sketch in this appraisal report to show the approximate dimensions of the improvements. The sketch is
       included only to assist the reader in visualizing the property and understanding the appraiser's determination of its size.


       3. The appraiser has examined the available flood maps that are provided by the Federal Emergency Management Agency (or other
       data sources) and has noted in this appraisal report whether any portion of the subject site is located in an identified Special Flood
       Hazard Area. Because the appraiser is not a surveyor, he or she makes no guarantees, express or implied, regarding this
       determination.

       4. The appraiser will not give testimony or appear in court because he or she made an appraisal of the property in question, unless
       specific arrangements to do so have been made beforehand, or as otherwise required by law.


       5. The appraiser has noted in this appraisal report any adverse conditions (such as needed repairs, deterioration, the presence of
       hazardous wastes, toxic substances, etc.) observed during the inspection of the subject property or that he or she became aware of
       during the research involved in performing this appraisal. Unless otherwise stated in this appraisal report, the appraiser has no
       knowledge of any hidden or unapparent physical deficiencies or adverse conditions of the property (such as, but not limited to, needed
       repairs, deterioration, the presence of hazardous wastes, toxic substances, adverse environmental conditions, etc.) that would make
       the property less valuable, and has assumed that there are no such conditions and makes no guarantees or warranties, express or
       implied. The appraiser will not be responsible for any such conditions that do exist or for any engineering or testing that might be
       required to discover whether such conditions exist. Because the appraiser is not an expert in the field of environmental hazards, this
       appraisal report must not be considered as an environmental assessment of the property.


       6. The appraiser has based his or her appraisal report and valuation conclusion for an appraisal that is subject to satisfactory
       completion, repairs, or alterations on the assumption that the completion, repairs, or alterations of the subject property will be performed
       in a professional manner.




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      APPRAISER'S CERTIFICATION: The Appraiser certifies and agrees that:


      1. I have, at a minimum, developed and reported this appraisal in accordance with the scope of work requirements stated in this
      appraisal report.

      2. I performed a complete visual inspection of the interior and exterior areas of the subject property. I reported the condition of the
      improvements in factual, specific terms. I identified and reported the physical deficiencies that could affect the livability, soundness, or
      structural integrity of the property.

      3. I performed this appraisal in accordance with the requirements of the Uniform Standards of Professional Appraisal Practice that were
      adopted and promulgated by the Appraisal Standards Board of The Appraisal Foundation and that were in place at the time this
      appraisal report was prepared.

      4. I developed my opinion of the market value of the real property that is the subject of this report based on the sales comparison
      approach to value. I have adequate comparable market data to develop a reliable sales comparison approach for this appraisal
      assignment. I further certify that I considered the cost and income approaches to value but did not develop them, unless otherwise
      indicated in this report.

      5. I researched, verified, analyzed, and reported on any current agreement for sale for the subject property, any offering for sale of the
      subject property in the twelve months prior to the effective date of this appraisal, and the prior sales of the subject property for a
      minimum of three years prior to the effective date of this appraisal, unless otherwise indicated in this report.

      6. I researched, verified, analyzed, and reported on the prior sales of the comparable sales for a minimum of one year prior to the date
      of sale of the comparable sale, unless otherwise indicated in this report.

      7. I selected and used comparable sales that are locationally, physically, and functionally the most similar to the subject property.

      8. I have not used comparable sales that were the result of combining a land sale with the contract purchase price of a home that has
      been built or will be built on the land.

      9. I have reported adjustments to the comparable sales that reflect the market's reaction to the differences between the subject
      property and the comparable sales.

      10. I verified, from a disinterested source, all information in this report that was provided by parties who have a financial interest in the
      sale or financing of the subject property.

      11. I have knowledge and experience in appraising this type of property in this market area.

      12. I am aware of, and have access to, the necessary and appropriate public and private data sources, such as multiple listing services,
      tax assessment records, public land records and other such data sources for the area in which the property is located.

      13. I obtained the information, estimates, and opinions furnished by other parties and expressed in this appraisal report from reliable
      sources that I believe to be true and correct.

      14. I have taken into consideration the factors that have an impact on value with respect to the subject neighborhood, subject property,
      and the proximity of the subject property to adverse influences in the development of my opinion of market value. I have noted in this
      appraisal report any adverse conditions (such as, but not limited to, needed repairs, deterioration, the presence of hazardous wastes,
      toxic substances, adverse environmental conditions, etc.) observed during the inspection of the subject property or that I became aware
      of during the research involved in performing this appraisal. I have considered these adverse conditions in my analysis of the property
      value, and have reported on the effect of the conditions on the value and marketability of the subject property.

      15. I have not knowingly withheld any significant information from this appraisal report and, to the best of my knowledge, all statements
      and information in this appraisal report are true and correct.

      16. I stated in this appraisal report my own personal, unbiased, and professional analysis, opinions, and conclusions, which are subject
      only to the assumptions and limiting conditions in this appraisal report.

      17. I have no present or prospective interest in the property that is the subject of this report, and I have no present or prospective
      personal interest or bias with respect to the participants in the transaction. I did not base, either partially or completely, my analysis
      and/or opinion of market value in this appraisal report on the race, color, religion, sex, age, marital status, handicap, familial status, or
      national origin of either the prospective owners or occupants of the subject property or of the present owners or occupants of the
      properties in the vicinity of the subject property or on any other basis prohibited by law.

      18. My employment and/or compensation for performing this appraisal or any future or anticipated appraisals was not conditioned on
      any agreement or understanding, written or otherwise, that I would report (or present analysis supporting) a predetermined specific
      value, a predetermined minimum value, a range or direction in value, a value that favors the cause of any party, or the attainment of a
      specific result or occurrence of a specific subsequent event (such as approval of a pending mortgage loan application).

      19. I personally prepared all conclusions and opinions about the real estate that were set forth in this appraisal report. If I relied on
      significant real property appraisal assistance from any individual or individuals in the performance of this appraisal or the preparation of
      this appraisal report, I have named such individual(s) and disclosed the specific tasks performed in this appraisal report. I certify that
      any individual so named is qualified to perform the tasks. I have not authorized anyone to make a change to any item in this appraisal
      report; therefore, any change made to this appraisal is unauthorized and I will take no responsibility for it.

      20. I identified the lender/client in this appraisal report who is the individual, organization, or agent for the organization that ordered and
      will receive this appraisal report.




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       21. The lender/client may disclose or distribute this appraisal report to: the borrower; another lender at the request of the borrower; the
       mortgagee or its successors and assigns; mortgage insurers; government sponsored enterprises; other secondary market participants;
       data collection or reporting services; professional appraisal organizations; any department, agency, or instrumentality of the United
       States; and any state, the District of Columbia, or other jurisdictions; without having to obtain the appraiser's or supervisory appraiser's
       (if applicable) consent. Such consent must be obtained before this appraisal report may be disclosed or distributed to any other party
       (including, but not limited to, the public through advertising, public relations, news, sales, or other media).

       22. I am aware that any disclosure or distribution of this appraisal report by me or the lender/client may be subject to certain laws and
       regulations. Further, I am also subject to the provisions of the Uniform Standards of Professional Appraisal Practice that pertain to
       disclosure or distribution by me.

       23. The borrower, another lender at the request of the borrower, the mortgagee or its successors and assigns, mortgage insurers,
       government sponsored enterprises, and other secondary market participants may rely on this appraisal report as part of any mortgage
       finance transaction that involves any one or more of these parties.

       24. If this appraisal report was transmitted as an ''electronic record'' containing my ''electronic signature,'' as those terms are defined in
       applicable federal and/or state laws (excluding audio and video recordings), or a facsimile transmission of this appraisal report
       containing a copy or representation of my signature, the appraisal report shall be as effective, enforceable and valid as if a paper
       version of this appraisal report were delivered containing my original hand written signature.

       25. Any intentional or negligent misrepresentation(s) contained in this appraisal report may result in civil liability and/or criminal penalties
       including, but not limited to, fine or imprisonment or both under the provisions of Title 18, United States Code, Section 1001, et seq., or
       similar state laws.

       SUPERVISORY APPRAISER'S CERTIFICATION: The Supervisory Appraiser certifies and agrees that:

       1. I directly supervised the appraiser for this appraisal assignment, have read the appraisal report, and agree with the appraiser's
       analysis, opinions, statements, conclusions, and the appraiser's certification.

       2. I accept full responsibility for the contents of this appraisal report including, but not limited to, the appraiser's analysis, opinions,
       statements, conclusions, and the appraiser's certification.

       3. The appraiser identified in this appraisal report is either a sub-contractor or an employee of the supervisory appraiser (or the
       appraisal firm), is qualified to perform this appraisal, and is acceptable to perform this appraisal under the applicable state law.

       4. This appraisal report complies with the Uniform Standards of Professional Appraisal Practice that were adopted and promulgated by
       the Appraisal Standards Board of The Appraisal Foundation and that were in place at the time this appraisal report was prepared.


       5. If this appraisal report was transmitted as an "electronic record" containing my "electronic signature," as those terms are defined in
       applicable federal and/or state laws (excluding audio and video recordings), or a facsimile transmission of this appraisal report
       containing a copy or representation of my signature, the appraisal report shall be as effective, enforceable and valid as if a paper
       version of this appraisal report were delivered containing my original hand written signature.




          APPRAISER                                                                          SUPERVISORY APPRAISER (ONLY IF REQUIRED)

          Signature                                                                          Signature
          Name James P. Spas                                                                 Name
          Company Name James P. Spas & Associates                                            Company Name
          Company Address 2788 Waxwing Circle                                                Company Address
                                   Costa Mesa              , CA          92626                                                                     ,
          Telephone Number                                                                   Telephone Number
          Email Address                                                                      Email Address
          Date of Signature and Report 06/12/2023                                            Date of Signature
          Effective Date of Appraisal 06/09/2023                                             State Certification #
          State Certification # AR018105                                                     or State License #
          or State License #                                                                 State
          or Other (describe)                          State #                               Expiration Date of Certification or License
          State CA
          Expiration Date of Certification or License 03/21/2024                             SUBJECT PROPERTY

          ADDRESS OF PROPERTY APPRAISED                                                             Did not inspect subject property
              10 Tucson                                                                             Did inspect exterior of subject property from street
              Coto De Caza                                , CA         92679                        Date of Inspection
          APPRAISED VALUE OF SUBJECT PROPERTY $           2,770,000                                 Did inspect interior and exterior of subject property

          LENDER/CLIENT                                                                             Date of Inspection

          Name CoreLogic Valuation Services, Inc.
                                                                                             COMPARABLE SALES
          Company Name Bankruptcy PL
          Company Address 7105 Corporate Dr                                                         Did not inspect exterior of comparable sales from street

                                   Plano                        , TX     75024-4100                 Did inspect exterior of comparable sales from street
          Email Address                                                                             Date of Inspection




                                                                                                                                                       Exhibit A
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Case 8:23-bk-10898-TA                           Doc 51-1 TEXT
                                                            FiledADDENDUM
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     Borrower/Client   Jeffrey Beier
     Property Address 10 Tucson
     City   Coto De Caza                                      County Orange                  State CA        Zip Code 92679

     Lender Bankruptcy PL


   Supplemental Addendum [Multi-page]
   Subject's Neighborhood:
   The subject's Coto de Caza area is a planned development of approximately eight square miles. The community consists of approximately 4,000
   residences, which are predominately tract homes with several custom estate residences constructed around an 18 hole golf course. Significant
   construction within the area began in the late 1970's with most homes built in the 1990's. Homes within the community range from 1,800 to over
   8,000 square feet with most averaging 3,000 to 4,000 square feet. The topography is rolling hills which provide for golf course and hill views. The
   development has monthly association dues that provide for the guarded entrances, private streets, club house, pools, spas, tennis and sports courts,
   parks, and common area maintenance. All amenities are adequately maintained. Other land uses are golf course and dedicated open space.

   The subject is located within the Oak Knoll at the Summit tract constructed by Toll Brothers from the 2000 to 2003. The development is located
   behind secondary gates and consists of 81 homes in traditional, French, Mediterranean and colonial designs that range from 4,400 to over 6,000
   square feet. Lot sizes within the tract range from 10,000 to 33,000 square feet. The tract has nominal additional monthly dues that provide for its
   gated entrance.

   Coto De Caza Market Conditions:
   The Coronavirus (COVID-19) outbreak of early 2020 had a significant impact on local, national and global economies. Financial markets worldwide
   experienced unprecedented volatility. Based on a review of data from the subject's city, these events had no significant influence on area sales
   volume or pricing.

   An analysis of market trends for single family residences over the prior 24 months indicate area sales have trended lower over the period. Sales over
   the past six months have averaged 10 per month, a 97% sale to list price ratio, and 45 days of market exposure. Area demand presently exceeds
   supply with listings averaging 65 days of exposure and an estimated inventory of less than 2 months at the recent absorption rate. MLS data for 3
   and 6 month periods preceding the effective date of the report follows:
         Period          Number of Sales      Median Sale Price Median Price per Square Foot Median Days on Market
   06/2021 - 12/2021           154               $1,680,000                  $480.20                           8
   12/2021 - 06/2022           109               $1,998,000                  $553.40                           6
   06/2022 - 12/2022            70               $1,950,000                  $542.90                          20
   12/2022 - Present            60               $1,850,000                  $553.40                          22
   03/2023 - Present            37               $1,842,000                  $558.20                          15
   Area prices peaked in early 2022, declined briefly, with data over the past six months indicating a stable to increasing price trend.
   Per MLS data, no recent distressed sales with one active distress listing from the development. Their limited presence are having no affect on area
   pricing.
   Current interest rates are higher than those noted in 2022 resulting in declining sales volume and increasing marketing times.

   I have researched all available local sources and, as of this date I have not found data suggesting a long term influence on area market activity or
   pricing as a result of the Coronavirus. The market data presented in this appraisal report is considered the most recent and relevant available and the
   resulting analysis best reflects market conditions as of the effective date of appraisal.

   Subject Property:
   The subject is a Balboa plan that is well appointed with the owner stating approximately $864,000 in upgrades and improvements. The property was
   estimated average to good in condition with no obvious interior items in need of immediate repair noted during the inspection. The subject could be
   painted and carpet replaced to increase appeal.

   On the day of inspection the subject was vacant. All utilities were on and functioning.

   Amenities include; stucco exterior, vinyl windows, wood entry and French patio doors, stone and carpet floors, 10' ceilings with coffered designs /
   crown molding / fans and speakers, stone and wood fireplace mantles, 8' paneled and French interior doors, chair rails, built-in cabinets, wood and
   wrought iron staircase banisters, plantation shutters, gourmet kitchen with center island / slab granite counters and stainless G.E appliances, half bath
   with a pedestal sink, secondary baths in tile with frameless glass enclosure doors, master bath in tile and glass block with a spa tub and separate
   shower, closet organizers, mirrored wardrobes, indoor laundry room, central vacuum and finished garages with epoxy floors and sectional doors.

   The subject's site is typical for its development in size with a corner location at the entrance to its six home cul de sac street. The lot sides to a similar
   residence to the east and backs to dedicate open space to the south. The location provides common woods views that do not contribute significantly
   to market value.
   The subject's location is approximately 100' from the entrance street for the development with its original sale not indicating discounting due to the
   location.
   The lot has been extensively landscape and is improved with pavers stone and stone hardscape, circular driveway, front fountain, patio with seating
   area with fire pit, built-in barbecue, Pebbletec pool with a slide / waiting pool and over-size spa with fountains, separate custom tiled secondary spa,
   sports court, outdoor fireplace, block and iron perimeter fencing and an outdoor kitchen. On the day of inspection the outdoor kitchen was missing
   appliances and in need of finishing. No obvious health or safety concerns noted with the needed finishing. It was not considered to contribute
   significantly to value given its incomplete condition.

   Comparable Sales:
   The appraiser's comparable search initially focused on recent standard market activity for area homes within 500 square feet of the subject's living
   area. Limited recent sales activity for homes similar in amenities and appeal necessitated the inclusion of some older sales and a significantly
   smaller home.
   The included comparables, the majority from the subject's development, bracket its features and considered the best indicators of its market value.

   Adjustments were necessary to reflect market reactions to differences considered to have a measurable impact on value. The adjustments were
   based on paired and sensitivity analysis to determine price premiums recognized by area buyers.

   Room and bedroom count differences are reflected in living area adjustments which were calculated at $175 per square foot.

   Lot sizes were based on Realist data with adjustments at $25 per square foot for differences considered significant.

   Condition adjustments, if warranted, were based on MLS descriptions, photographs, exterior observations and reflect varying levels of finish, features,
   modernization and upkeep. Please note that UAD required ratings reflect a range. A comparable may have the same rating as the subject yet warrant
   an adjustment. (Please see the attached Uniform Appraisal Dataset (UAD) Definitions Addendum)

   Not all dissimilarities between the subject and the included comparables require adjustments as not all dissimilarities are recognized as significant by
   market participants. Differences indicated with a "0" on the sales grid indicate the appraiser acknowledges a difference but no significant market
   evidence was found to support an adjustment.

   All adjustments were rounded.

   Comparable 1 is a recent sale from the San Marino tract which sells within a price range similar to the subject's. It is slightly smaller home with greater
   interior upgrading but less extensive yard improvements and estimated relatively similar in condition. It is located on a smaller corner lot with no
   significant view amenity. It was initially offered in August 2022 at $2,995,000 with 90 days of exposure before expiring. It was immediately re-listed at
   $2,849,000 with a price reduction to $2,768,000 and an additional 168 days of exposure before contracting at a 98% sale to list price ratio. MLS data
   states its sale price included a concession for repairs warranting an adjustment.


   ***CONTINUED ON NEXT PAGE***


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   Comparable 2 is an older sale from the subject's tract similar in lot size and living area. It is well appointed with greater interior finishing but lacks the
   subject's more extensive yard features and estimated relatively similar in condition and upgrading. It lacks a significant view and contracted at a 99%
   sale to list price ratio after 14 days of exposure.

   Comparable 3 is an additional recent sale from the San Marino tract. It is a similar vintage home with both interior and exterior upgrading and
   estimated slightly superior in condition. It is located on a smaller corner site with similar yard features. Its elevation and orientation provide good hills
   views warranting an adjustment. It was offered at $2,988,000 with 29 days of exposure before contracting at a 98% sale to list price ratio. MLS data
   states its sale price also included a concession for repairs warranting an adjustment.

   Comparable 4 is the latest sale from the subject's tract for a similar size home. It was a tenant occupied residence relatively similar in interior
   amenities but inferior in its yard features and estimated similar in condition and slightly inferior in upgrading. It is located on a similar size site with
   peek views that do not contribute significantly to market value. It was offered at $2,890,000 with 112 days of exposure before contracting at an 85%
   sale to list price ratio.

   Although a significantly smaller residence, Comparable 5 is the latest sale from the subject's tract. It has kitchen and bathroom remodeling and is
   superior in condition. It is located on a larger corner site with no significant view amenity. Its amenities included an owned 43 panel solar system with
   Tesla Power Walls. It contracted at a 99% sale to list price ratio after 44 days of exposure.

   Comparable 6 is an older sale for a smaller home included due to its similar extensive yard features. It also has kitchen and bathroom remodeling
   and estimated superior in condition. It site is superior in size and has hills views. It was initially offered at $3,428,000 with two price reductions to
   $3,050,000 with 70 days of exposure before contracting at a 95% sale to list price ratio.

   Comparables 1, 3 and 5 are recent and reflective of current market conditions. Comparables 2, 4 and 6 warranted market condition adjustments to
   reflect price increases noted since mid 2022. The adjustments were based on median price per square foot statistics for the Coto De Caza
   development. Recent data indicates a median price per square foot of $558 versus $516 at the time of Comparable 2's sale, $508 at the time of
   Comparable 4's sale and $543 at the time of Comparable 6's sale. The adjustments are consistent with the included statistics, 1004MC data and
   additional area data.

   On the day of inspection there were no active listings from the subject development. The only active listing from the subject's development that
   conformed to the search criteria was 1 Shire, a short sale for a 5,838 square foot 1992 constructed home located on a 95,832 square foot lot. It was
   offered on 04/26/2023 at $2,995,000 with 47 days of exposure to date.

   The appraiser noted an additional recent sale from the adjoining Oak Knoll @ Summit development. 112 Vela Court is a 5,070 square foot home that
   appears highly upgraded and located on a 11,527 square foot lot with hills views. It sold as a pocket listing on 06/02/2023 at $3,100,000. Considering
   its amenities it sold over market and its sale price could not be reconciled with tract sales over the past 18 months.

   Reconciliation:
   Adjusting for amenity differences the indicated value of the subject, based on the closed sales, ranges from $2,766,000 to $2,891,000. All
   comparables were considered and contribute to the value conclusion. Primary emphasis was attributed to Comparables 2, 4, 5 and 6, sales by the
   subject's builder. Comparables 1 and 3 were given secondary consideration due to their distance and different builder.

   The opinion of the subject's market value, $2,770,000, was within the more dominant adjusted values, is bracketed by the pre and post adjusted
   comparables and supported by the data presented.

   The subject's appraised value exceeds the predominant neighborhood value noted on page one of the 1004 form due to its larger than average lot
   size and living area with no adverse affect on its marketability.

   Addendum
   The highest and best use of the subject is projected based upon location, physical characteristics, past and proposed uses, and applicable zoning.
   The highest and best use of the subject "as if vacant" is for residential construction. It is the most applicable use, the previous or proposed use, and
   the most profitable use of the site. Surplus land, if any, may be held as investment or agriculture as an interim utility. The highest and best use of the
   subject "as improved" is its current use. The improvements have remaining economic life; are the probable future use; are the current and previous
   use and are legally permissible by zoning or probable future zoning; appear to be financially feasible; and are the maximally productive use available
   to the subject.

   The subject's site size, shape, and land-to-building ratio is adequate for the current improvements. The current structure on the subject site is
   financially feasible and provides maximum return to the land.

   The Intended User of this appraisal report is the Lender/Client. The Intended Use is to support a valuation of the subject property in a bankruptcy
   litigation to which the lender / client is a party.

   No additional Intended Users are identified by the appraiser.

   The Days on Market (DOM) information shown in this report for the subject and/or comparable properties may differ from that reported in the local
   MLS. The DOM data provided is intended to comply with GSE UAD guidelines and is considered reflective of the actual current active marketing time
   of the respective property. DOM values in this report are the number of days a property has been currently marketed and is counted from either the
   day the listing originally went on the market, the day the listing went from Pending to Active, or Temporarily Off Market to Active.

   Flood Zone information was obtained through the internet data flood search service provided through the appraiser's appraisal forms software. For
   loan purposes, the lender/client obtains flood zone Certification from a third party vendor.

   I have not performed any services on the property that is the subject of this report within the three year period immediately preceding acceptance of
   this assignment.

   My opinion of a reasonable exposure time for the subject property at the market value stated in this report is from 14 to 168 days.




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                         UNIFORM APPRAISAL DATASET (UAD) DEFINITIONS ADDENDUM
                                          (Source: UAD Appendix D: UAD Field-Specific Standardization Requirements)
  Condition Ratings and Definitions
   C1
   The improvements have been very recently constructed and have not previously been occupied. The entire structure and all components are new and the
   dwelling features no physical depreciation.*

   *Note: Newly constructed improvements that feature recycled materials and/or components can be considered new dwellings provided that the dwelling is
   placed on a 100% new foundation and the recycled materials and the recycled components have been rehabilitated/re-manufactured into like-new condition.
   Recently constructed improvements that have not been previously occupied are not considered "new" if they have any significant physical depreciation (i.e.,
   newly constructed dwellings that have been vacant for an extended period of time without adequate maintenance or upkeep).
   C2
   The improvements feature no deferred maintenance, little or no physical depreciation, and require no repairs. Virtually all building components are new or
   have been recently repaired, refinished, or rehabilitated. All outdated components and finishes have been updated and/or replaced with components that
   meet current standards. Dwellings in this category either are almost new or have been recently completely renovated and are similar in condition to new
   construction.
   C3
   The improvements are well maintained and feature limited physical depreciation due to normal wear and tear. Some components, but not every major
   building component, may be updated or recently rehabilitated. The structure has been well maintained.
   C4
   The improvements feature some minor deferred maintenance and physical deterioration due to normal wear and tear. The dwelling has been adequately
   maintained and requires only minimal repairs to building components/mechanical systems and cosmetic repairs. All major building components have been
   adequately maintained and are functionally adequate.
   C5
   The improvements feature obvious deferred maintenance and are in need of some significant repairs. Some building components need repairs, rehabilitation,
   or updating. The functional utility and overall livability is somewhat diminish d due to condition, but the dwelling remains useable and functional as a
   residence.
   C6
   The improvements have substantial damage or deferred maintenance with deficiencies or defects that are severe enough to affect the safety, soundness, or
   structural integrity of the improvements. The improvements are in need of substantial repairs and rehabilitation, including many or most major components.



  Quality Ratings and Definitions
   Q1
   Dwellings with this quality rating are usually unique structures that are individually designed by an architect for a specified user. Such residences typically are
   constructed from detailed architectural plans and specifications and feature an exceptionally high level of workmanship and exceptionally high-grade
   materials throughout the interior and exterior of the structure. The design features exceptionally high-quality exterior refinement s and ornamentation, and
   exceptionally high-quality interior refinements. The workmanship, materials, and finishes throughout the dwelling are of exceptionally high quality.
   Q2
   Dwellings with this quality rating are often custom designed for construction on an individual property owner’s site. However, dwellings in this quality grade
   are also found in high-quality tract developments featuring residence constructed from individual plans or from highly modified or upgraded plans. The design
   features detailed, high quality exterior ornamentation, high-quality interior refinements, and detail. The workmanship, materials, and finishes throughout the
   dwelling are generally of high or very high quality.
   Q3
   Dwellings with this quality rating are residences of higher quality built from individual or readily available designer plans in above-standard residential tract
   developments or on an individual property owner’s site. The design includes significant exterior ornamentation and interiors that are well finished. The
   workmanship exceeds acceptable standards and many materials and finishes throughout the dwelling have been upgraded from “stock” standards.
   Q4
   Dwellings with this quality rating meet or exceed the requirements of applicable building codes. Standard or modified standard building plans are utilized and
   the design includes adequate fenestration and some exterior ornamentation and interior refinements. Materials, workmanship, finish, and equipment are of
   stock or builder grade and may feature some upgrades.

   Q5
   Dwellings with this quality rating feature economy of construction and basic functionality as main considerations. Such dwellings feature a plain design using
   readily available or basic floor plans featuring minimal fenestration and basic finishes with minimal exterior ornamentation and limited interior detail. These
   dwellings meet minimum building codes and are constructed with inexpensive, stock materials with limited refinements and upgrades.
   Q6
   Dwellings with this quality rating are of basic quality and lower cost; some may not be suitable for year-round occupancy. Such dwellings are often built with
   simple plans or without plans, often utilizing the lowest quality building materials. Such dwellings are often built or expanded by persons who are
   professionally unskilled or possess only minimal construction skills. Electrical, plumbing, and other mechanical systems and equipment may be minimal or
   non-existent. Older dwellings may feature one or more substandard or non-conforming additions to the original structure.



  Definitions of Not Updated, Updated, and Remodeled
   Not Updated
       Little or no updating or modernization. This description includes, but is not limited to, new homes.
       Residential properties of fifteen years of age or less often reflect an original condition with no updating, if no major components have been replaced
       or updated. Those over fifteen years of age are also considered not updated if the appliances, fixtures, and finishes are predominantly dated. An
       area that is ‘Not Updated’ may still be well maintained and fully functional, and this rating does not necessarily imply deferred maintenance or
       physical /functional deterioration.

   Updated
       The area of the home has been modified to meet current market expectations. These modifications are limited in terms of both scope and
       cost.
       An updated area of the home should have an improved look and feel, or functional utility. Changes that constitute updates include refurbishment
       and/or replacing components to meet existing market expectations. Updates do not include significant alterations to the existing structure .
   Remodeled
        Significant finish and/or structural changes have been made that increase utility and appeal through complete replacement and/ or
        expansion.
        A remodeled area reflects fundamental changes that include multiple alterations. These alterations may include some or all of the following:
        replacement of a major component (cabinet(s), bathtub, or bathroom tile), relocation of plumbing/gas fixtures/appliances, significant structural
        alterations (relocating walls, and/or the addition of) square footage). This would include a complete gutting and rebuild.



  Explanation of Bathroom Count
   Three-quarter baths are counted as a full bath in all cases. Quarter baths (baths that feature only a toilet) are not included in the bathroom count.
   The number of full and half baths is reported by separating the two values using a period, where the full bath count is represented to the left of the
   period and the half bath count is represented to the right of the period.




                                                                                                                                           Exhibit A
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                                              Abbreviations Used in Data Standardization Text
                   Abbreviation                 Full Name                              Appropriate Fields
                   ac                           Acres                                  Area, Site
                   AdjPrk                       Adjacent to Park                       Location
                   AdjPwr                       Adjacent to Power Lines                Location
                   A                            Adverse                                Location & View
                   ArmLth                       Arms Length Sale                       Sale or Financing Concessions
                   ba                           Bathroom(s)                            Basement & Finished Rooms Below Grade
                   br                           Bedroom                                Basement & Finished Rooms Below Grade
                   B                            Beneficial                             Location & View
                   Cash                         Cash                                   Sale or Financing Concessions
                   CtySky                       City View Skyline View                 View
                   CtyStr                       City Street View                       View
                   Comm                         Commercial Influence                   Location
                   c                            Contracted Date                        Date of Sale/Time
                   Conv                         Conventional                           Sale or Financing Concessions
                   CrtOrd                       Court Ordered Sale                     Sale or Financing Concessions
                   DOM                          Days On Market                         Data Sources
                   e                            Expiration Date                        Date of Sale/Time
                   Estate                       Estate Sale                            Sale or Financing Concessions
                   FHA                          Federal Housing Authority              Sale or Financing Concessions
                   GlfCse                       Golf Course                            Location
                   Glfvw                        Golf Course View                       View
                   Ind                          Industrial                             Location & View
                   in                           Interior Only Stairs                   Basement & Finished Rooms Below Grade
                   Lndfl                        Landfill                               Location
                   LtdSght                      Limited Sight                          View
                   Listing                      Listing                                Sale or Financing Concessions
                   Mtn                          Mountain View                          View
                   N                            Neutral                                Location & View
                   NonArm                       Non-Arms Length Sale                   Sale or Financing Concessions
                   BsyRd                        Busy Road                              Location
                   o                            Other                                  Basement & Finished Rooms Below Grade
                   Prk                          Park View                              View
                   Pstrl                        Pastoral View                          View
                   PwrLn                        Power Lines                            View
                   PubTrn                       Public Transportation                  Location
                   rr                           Recreational (Rec) Room                Basement & Finished Rooms Below Grade
                   Relo                         Relocation Sale                        Sale or Financing Concessions
                   REO                          REO Sale                               Sale or Financing Concessions
                   Res                          Residential                            Location & View
                   RH                           USDA –Rural Housing                    Sale or Financing Concessions
                   s                            Settlement Date                        Date of Sale/Time
                   Short                        Short Sale                             Sale or Financing Concessions
                   sf                           Square Feet                            Area, Site, Basement
                   Unk                          Unknown                                Date of Sale/Time
                   VA                           Veterans Administration                Sale or Financing Concessions
                   w                            Withdrawn Date                         Date of Sale/Time
                   wo                           Walk Out Basement                      Basement & Finished Rooms Below Grade
                   wu                           Walk Up Basement                       Basement & Finished Rooms Below Grade
                   WtrFr                        Water Frontage                         Location
                   Wtr                          Water View                             View
                   Woods                        Woods View                             View

                                                       Other Appraiser-Defined Abbreviations
                  Abbreviation                               Full Name                 Fields Where This Abbreviation May Appear




                                                                                                                       Exhibit A
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                                                                              FRONT OF SUBJECT PROPERTY

                                                                               Subject Front
                                                                               10 Tucson




                                                                               REAR OF SUBJECT PROPERTY

                                                                               Subject Rear
                                                                               10 Tucson




                                                                              STREET SCENE


                                                                               Subject Street
                                                                               10 Tucson




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                                                                               Closet




                                                                               Water heater




                                                                               Sports court




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                                                                               Finished garage




                                                                               Finished garage




                                                                               Barbecue and seating area




                                                                                                 Exhibit A
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                                                                               Pool and spa




                                                                               Second spa




                                                                               Pool equipment




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                                                                               Outdoor kitchen




                                                                               Outdoor kitchen needs
                                                                               appliances and finishing




                                                                               Outdoor kitchen needs
                                                                               appliances and finishing




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                                                                               Side view




                                                                               Side view




                                                                               Subject backs to an open
                                                                               area




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                                                                               Bedroom




                                                                               Bath




                                                                               Bath




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                                                                               Master Bedroom




                                                                               Retreat




                                                                               Master Bath




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                                                                               Master Bath




                                                                               Master Bath




                                                                               Closet




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                                                                               Foyer




                                                                               Living room




                                                                               Family room




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                                                                               Family room




                                                                               Dining




                                                                               Kitchen




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                                                                               Kitchen




                                                                               Kitchen




                                                                               Bath (Half)




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                                                                               Den




                                                                               Bedroom




                                                                               Bath




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                                                                               Bath




                                                                               Bonus




                                                                               Bedroom




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                                                                               Bath




                                                                               Bedroom




                                                                               Bath




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                                                                               This graph represents sales
                                                                               prices versus living area in
                                                                               the subject market from
                                                                               08-09-2022 to 05-30-2023 and
                                                                               shows a likely value for a




                                                                               This analysis of the
                                                                               discount percentage between
                                                                               listing price and selling
                                                                               price from 08-09-2022 to
                                                                               05-30-2023 predicts a




                                                                               This chart demonstrates the
                                                                               median sales to list price

                                                                               ratio for transactions in
                                                                               the market area between
                                                                               06-13-2022 and 06-12-2023.




                                                                                                   Exhibit A
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                                                                               For each month from
                                                                               06-13-2022 to 06-12-2023
                                                                               this chart shows the median
                                                                               price for both sales and
                                                                               listings in the subject




                                                                               For each month from
                                                                               06-13-2022 to 06-12-2023
                                                                               this chart shows the median
                                                                               price per square foot for
                                                                               both sales and listings in




                                                                               This analysis of prices in
                                                                               the subject market from

                                                                               08-09-2022 to 05-30-2023
                                                                               yields a price range of
                                                                               $62,297 to $1,814,070 for




                                                                                                   Exhibit A
Case 8:23-bk-10898-TA                 Doc 51-1 Filed 06/23/23 Entered 06/23/23 09:00:32                               Desc
                                       COMPARABLES PHOTOGRAPH ADDENDUM      File #
                                      Exhibit A - Appraisal Page 31 of 37
    Borrower/Client   Jeffrey Beier
    Property Address 10 Tucson
    City   Coto De Caza                     County Orange   State CA   Zip Code 92679

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                                                                                 Comparable Sale 1
                                                                                  2 Leatherwood Ct

                                                                                  Coto De Caza           CA   92679

                                                                                 Date of Sale: s05/23;c05/23
                                                                                 Sale Price:     2,700,000
                                                                                 Sq. Ft.:        5,823
                                                                                 $ / Sq. Ft.:    463.68




                                                                                 Comparable Sale 2
                                                                                  7 Endicott

                                                                                  Coto De Caza           CA   92679

                                                                                 Date of Sale: s12/22;c11/22
                                                                                 Sale Price:     2,575,000
                                                                                 Sq. Ft.:        5,850

                                                                                 $ / Sq. Ft.:    440.17




                                                                                 Comparable Sale 3
                                                                                  1 Running Brook Dr
                                                                                  Coto De Caza           CA   92679

                                                                                 Date of Sale: s05/23;c04/23
                                                                                 Sale Price:     2,925,000
                                                                                 Sq. Ft.:        6,013
                                                                                 $ / Sq. Ft.:    486.45




                                                                                                  Exhibit A
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    Borrower/Client   Jeffrey Beier
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                                                                                 Comparable Sale 4
                                                                                  18 Flagstone

                                                                                  Coto De Caza            CA   92679

                                                                                 Date of Sale: s01/23;c12/22
                                                                                 Sale Price:      2,450,000
                                                                                 Sq. Ft.:         5,860
                                                                                 $ / Sq. Ft.:     418.09




                                                                                 Comparable Sale 5
                                                                                  2 Lone Wolf

                                                                                  Coto De Caza            CA   92679

                                                                                 Date of Sale: s03/23;c03/23
                                                                                 Sale Price:      2,925,000
                                                                                 Sq. Ft.:         5,194

                                                                                 $ / Sq. Ft.:     563.15




                                                                                 Comparable Sale 6
                                                                                  1 Hickory Frk
                                                                                  Coto De Caza            CA   92679

                                                                                 Date of Sale: s09/22;c08/22
                                                                                 Sale Price:      2,900,000
                                                                                 Sq. Ft.:         5,273
                                                                                 $ / Sq. Ft.:     549.97




                                                                                                   Exhibit A
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                                              LOCATION MAP ADDENDUM
                                                                                              Desc
                                                                                File #
                                      Exhibit A - Appraisal Page 33 of 37
    Borrower/Client   Jeffrey Beier
    Property Address 10 Tucson
    City   Coto De Caza                     County Orange   State CA   Zip Code 92679

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                                                                                        Exhibit A
Case 8:23-bk-10898-TA                 Doc 51-1 SKETCH
                                                   Filed ADDENDUM
                                                         06/23/23 Entered 06/23/23 09:00:32   Desc
                                                                                File #
                                      Exhibit A - Appraisal Page 34 of 37
    Borrower/Client   Jeffrey Beier
    Property Address 10 Tucson
    City   Coto De Caza                     County Orange   State CA   Zip Code 92679

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                                                                                        Exhibit A
Case 8:23-bk-10898-TA                 Doc 51-1 SKETCH
                                                   Filed ADDENDUM
                                                         06/23/23 Entered 06/23/23 09:00:32   Desc
                                                                                File #
                                      Exhibit A - Appraisal Page 35 of 37
    Borrower/Client   Jeffrey Beier
    Property Address 10 Tucson
    City   Coto De Caza                     County Orange   State CA   Zip Code 92679

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Case 8:23-bk-10898-TA                 Doc 51-1 Filed      06/23/23 Entered 06/23/23 09:00:32
                                                     Aerial Map
                                                                                               Desc
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                                      Exhibit A - Appraisal Page 36 of 37
    Borrower/Client   Jeffrey Beier
    Property Address 10 Tucson
    City   Coto De Caza                     County Orange   State CA   Zip Code 92679

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                                                                                        Exhibit A
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                                                               Exhibit A
